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				SPRUILL v. STATE2018 OK CR 26Case Number: F-2016-629Decided: 07/19/2018ETHAN JOHNSON SPRUILL, Appellant v. STATE OF OKLAHOMA, Appellee.

Cite as: 2018 OK CR 26, __  __

				

ORDER GRANTING MOTION FOR PUBLICATION
¶1 On May 17, 2018, a Summary Opinion was handed down in the above-styled proceeding. The opinion, amongst other things, addressed the applicability of 21 O.S.2011, § 1289.25, to the facts of this case. On May 29, 2018, the State of Oklahoma, by and through Mike Hunter, Attorney General of Oklahoma, and Theodore M. Peeper, Assistant Attorney General, filed a Motion for Publication and Brief in Support in the above-referenced matter.
¶2 For good cause shown, the Court GRANTS the State's request for publication, and the Summary Opinion, as corrected, is hereby released for publication. See A.R.M. v. State, 2011 OK CR 24, 260 P.3d 434.
¶3 IT IS THEREFORE THE ORDER OF THIS COURT that the Summary Opinion, as corrected and paragraphed, is hereby AUTHORIZED FOR PUBLICATION.
¶4 The Clerk of this Court is directed to transmit a copy of this order to the Court Clerk of Cleveland County; the District Court of Cleveland County, the Honorable Lori Walkley, District Judge; and counsel of record.
¶5 IT IS SO ORDERED.
¶6 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 19th day of July 2018.
/S/GARY L. LUMPKIN, Presiding Judge
/S/DAVID B. LEWIS, Vice Presiding Judge
/S/ROBERT L. HUDSON, Judge
/S/DANA KUEHN, Judge
/S/SCOTT ROWLAND, Judge
ATTEST:
John D. HaddenClerk




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